          Case 3:11-cv-00795-MRK Document 24 Filed 02/09/12 Page 1 of 2


                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

SHANNAN BAIOCCHETTI,                        :
                                            :
                       Plaintiff,           :
                                            :
v.                                          :       NO. 3:11CV795(MRK)
                                            :
SMITH, DEAN & ASSOCIATES, INC.,             :
LISA SMITH, COAST 2 COAST                   :
FINANCIAL CORPORATION,                      :
ADAM GREENBERG,                             :
                                            :
                       Defendants.          :

                                         JUDGMENT

        This action came on for consideration before the Honorable Mark R. Kravitz, United

States District Judge, and the Honorable William I. Garfinkel, United States Magistrate Judge, as

a result of the plaintiff’s Motion for Default Judgment. On September 15, 2011, an Order entered

granting the Motion for Default Judgment against the defendants' Smith, Dean & Associates,

Inc., Lisa Smith, Coast 2 Coast Financial Corporation, and Adam Greenberg and referring the

case to Magistrate William I. Garfinkel for a hearing on damages. On January 25, 2011, a

Amended Recommended Ruling entered awarding damages to plaintiff Shannan Baiocchetti in

the amount of $1,000.00 in statutory damages and $2,500.00 in actual damages against defendant

Lisa Smith individually; that she be awarded $1,000.00 in statutory damages and $2,500.00 in

actual damages against defendants Coast 2 Coast and Adam Greenberg, jointly and severally;

that she be awarded $25,000.00 in punitive damages against the three defendants, jointly and

severally; and that she be awarded reasonable attorneys fees and costs of $3,800.00. On February

9, 2012, a Ruling District Judge Mark R. Kravitz, entered adopting the Recommended Ruling in

its entirety.

EOD:        2/9/2012
         Case 3:11-cv-00795-MRK Document 24 Filed 02/09/12 Page 2 of 2


       Therefore, it is ORDERED and ADJUDGED that judgment is entered for plaintiff

Shannan Baiocchetti, and against defendants' Smith, Dean & Associates, Inc., Lisa Smith, Coast 2

Coast Financial Corporation, Adam Greenberg, for $1,000.00 in statutory damages and $2,500.00

in actual damages against defendant Lisa Smith individually; that she be awarded $1,000.00 in

statutory damages and $2,500.00 in actual damages against defendants Coast 2 Coast and Adam

Greenberg, jointly and severally; that she be awarded $25,000.00 in punitive damages against the

three defendants, jointly and severally; and that she be awarded reasonable attorneys fees and

costs of $3,800.00 and the case is closed.

       Dated at New Haven, Connecticut this 9th day of February 2011.

                                                           ROBERTA D. TABORA, Clerk
                                                           By

                                                           /s/ Kenneth R. Ghilardi
                                                           Kenneth R. Ghilardi
                                                           Deputy Clerk
